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UNITED STATES DISTRICT COURT q
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MIDDLE DISTRICT OF LOUISIANA

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UNITED STATES OF AMERICA

  
 

versus ', 5- n »
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FLITCHER R. BELL

FACTUAL STIPULATION

The United States and the defendant stipulate, pursuant to Section 6Bl .4 of the United
States Sentencing Guidelines, to the following facts:

Flitcher R. Bell (hereinafter referred to as “the defendant”) Was employed at all
relevant times as a senior prosecutor at the Baton Rouge City Prosecutor’s Office. His duties
and responsibilities involved prosecuting defendants in criminal and traffic matters pending
in Baton Rouge City Court (“BRCC”). BRCC handled all municipal traffic and
misdemeanor criminal offenses, such as battery and domestic violence, initiated by the Baton
Rouge City Police Department, including municipal summonses and in~custody arrests

From at least 2006 until October 2009, the defendant accepted cash, gifts, and other
things of value in exchange for dismissing, reducing, or otherwise “fixing” criminal and
traffic charges pending in BRCC. The defendant typically received the cash, gifts, and other
things of value through a so-called middleman vvho had typically received such things of
value from the individual vvith the pending charge(s). The middleman vvould typically take a
portion of the money as a fee to facilitate the bribes. The actual bribe payments to the

defendant vvere occasionally preceded by telephone calls to either arrange a meeting or

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otherwise facilitate the scheme.

Such bribe payments were often facilitated by middleman E.J. who marketed himself on
the street as able to fix criminal charges in both Baton Rouge City Court and the Nineteenth
Judicial District Court. E.J. was a leader of the scheme which involved the defendant, E.J., and
many others.

As an example of the bribery scheme, on or about May 12, 2009, after using a telephone
to arrange the logistics, E.J. provided the defendant with a cash payment in exchange for the
defendant dismissing a criminal matter pending in BRCC pertaining to an undercover FBI agent
who was posing as an individual named Ahmad Mousa Abd-alsalam.

On or about October l4, 2009, the defendant was approached by agents with the Federal
Bureau of lnvestigation and informed of the two year federal investigation of his activities,
including the use of wire-taps and undercover FBI agents. The defendant immediately admitted
to his role in the above bribery scheme and agreed to cooperate by providing truthful information
and engaging in covert operations Thereafter, the defendant retained an attorney, continued to
cooperate, and immediately agreed to plead guilty.

The defendant understands the Court is not bound by this stipulation

This Factual Stipulation is entered into this 2 iii day of October, 2009, at

 

 

 

 

Flitcher R. Bll Corey R. Yhundson W V
Defendant Assistant nited States Attorney

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Attorney for Defendant Assistant United States Attorney

